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 3                               UNITED STATES DISTRICT COURT
 4                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
 5                                     OAKLAND DIVISION
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 7 COMMONWEALTH OF                                    Case No: 20-cv-04717 SBA
     MASSACHUSETTS, et al.,
 8                                                    ORDER GRANTING JOINT
                   Plaintiffs,                        STIPULATION, SETTING CASE
 9                                                    MANAGEMENT CONFERNCE,
            vs.                                       AND HOLDING MOTION TO
10                                                    DISMISS IN ABEYANCE
11 BETSY DEVOS, in her official capacity as           Dkt. 74
     Secretary of Education, et al.,
12
                   Defendants.
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14          Pursuant to the parties’ stipulation, Dkt. 74, and good causing appearing therefore,
15   IT IS HEREBY ORDERED THAT:
16          1.     The parties’ joint stipulation, Dkt, 74, is GRANTED.
17          2.     The parties shall appear for a telephonic Case Management Conference on
18   March 24, 2021, at 2:30 p.m. The parties shall file a Joint Case Management Statement on
19   or before March 17, 2021. Counsel shall join the conference line (888) 684-8852 at the
20   date and time specified. The access code to join the conference is 7281326.
21          3.     Defendants’ motion to dismiss, Dkt. 61, shall be HELD IN ABEYANCE
22   pending the Case Management Conference, and the motion hearing currently set for
23   February 10, 2021 is VACATED. A deadline for Defendants’ to file a reply in support of
24   their motion and a new hearing date will be set at the Case Management Conference.
25          IT IS SO ORDERED.
26   Dated: 1/26/2021                                 ______________________________
                                                      SAUNDRA BROWN ARMSTRONG
27                                                    Senior United States District Judge
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